178 F.2d 663
    James L. EVANS et al., Appellants,v.The HUDSON COAL COMPANY.
    No. 10054.
    United States Court of Appeals Third Circuit.
    Argued January 6, 1950.
    Decided January 10, 1950.
    
      Appeal from the United States District Court for the Middle District of Pennsylvania; Albert L. Watson, Judge.
      James G. McDonough, Scranton, Pa., (J. Frank Connolly, James W. Scanlon, Bernard J. Brown, Scranton, Pa., on the brief), for appellants.
      Benjamin R. Jones, Jr., Wilkes-Barre, Pa. (Rudolph S. Houck, Francis D. Mahon, Scranton, Pa., Paul Bedford, Wilkes-Barre, Pa., on the brief), for appellee.
      Before BIGGS, Chief Judge, and MARIS and KALODNER, Circuit Judges.
      PER CURIAM.
    
    
      1
      The appeal, 84 F.Supp. 740, will be dismissed for want of jurisdiction since the order appealed from is not a final decision.
    
    